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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

MICHAELA M., by and through            )
her next friend, KELLY M.,             )
individually and on behalf of all      )
others similarly situated, et al.,     )
                                       )
       Plaintiffs,                     )
                                       )
v.                                     )   CASE NO. 2:24-cv-00102-RAH
                                       )
STEPHANIE M. AZAR, et al.,             )
                                       )
       Defendants.                     )

                                     ORDER

       Pending before the Court is the parties’ Joint Motion for Entry of
Administrative Stay. (Doc. 22.) For good cause, the Motion is GRANTED.
       Accordingly, it is ORDERED as follows:
       1. All deadlines and obligations are STAYED until further order of the Court.
       2. The parties shall file a joint status report concerning their settlement
          negotiations on or by November 25, 2024.
       DONE, on this the 11th day of October 2024.



                                R. AUSTIN HUFFAKER, JR.
                                UNITED STATES DISTRICT JUDGE
